
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-01-00068-CR


______________________________




ROBERT MARVIN WALLACE, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 6th Judicial District Court


Lamar County, Texas


Trial Court No. 18307




                                                 




Before Cornelius, C.J., Grant and Ross, JJ.


Opinion by Chief Justice Cornelius


Dissenting Opinion by Justice Grant


O P I N I O N



	Robert Marvin Wallace was convicted of aggravated assault with a deadly weapon, Tex. Pen.
Code Ann. § 22.02(a)(2) (Vernon 1994).  A jury found him guilty and set his punishment, enhanced
by one prior conviction, at twenty-five years' imprisonment. 

	The offense occurred on July 20, 2000, in the mobile home park where Bert Babb, his
girlfriend, Betty Beth Merritt, and Randy Molaris, the victim, resided.  At about 7:30 or 8:00 that
evening, Sabra Stansell, Amy Smith, and a man identified as Wallace, entered Babb's mobile home. 
The man began beating Molaris, who had been sitting on the couch watching television, with a metal
baseball bat, causing severe injuries to Molaris' head and arm.  Molaris picked up a nearby wooden
rocking chair and put it in front of him, which the assailant smashed with the bat before again
striking Molaris.  One of the witnesses heard Wallace say to the victim something like, "how do you
like being beaten up?"  Wallace then left the mobile home, accompanied by Stansell and Smith, got
into a car parked outside, and left.  There was testimony that another female, identified later as
Jennifer Mullins, had come with the group in the car but had not entered Babb's mobile home. 

	Sabra Stansell, Amy Smith, Bert Babb, Betty Beth Merritt, and the victim, Molaris, all gave
eyewitness testimony identifying Wallace as the person who struck Molaris five or six times with
the metal bat.  Two other witnesses who saw Wallace at other times before or shortly after the assault
identified him in a police photographic display.  Two neighbors, Megan Streety and Melissa Layton,
who were sisters, were outside when a car containing three females and one male came up to Babb's
mobile home.  They noticed the car because it had the name "Jennifer" stenciled on it.  Although
their versions were slightly different, they both said they saw at least two of the females and the man
go into the mobile home.  They heard a lot of screaming coming from inside the mobile home, and
then saw the two females and the man come out and leave; the man was carrying a baseball bat.  

	There was testimony that Stansell was angry with Molaris because about a month before this
incident, Molaris and Babb had gotten into a fight and Molaris had struck Babb, blackening both of
his eyes.  There was also testimony that Stansell, Smith, and Mullins had been drinking all day, had
come for a short visit to Babb's mobile home and left, presumably to get more beer, and that they
returned with Wallace.  

	Stansell, during what was apparently a day of continuous drinking, visited Babb's mobile
home earlier on July 20, along with Smith and Jennifer Mullins, (1) Wallace's sister.  Stansell then
returned to her own house, where Wallace was visiting.  After more drinking and talking, Wallace
went with Stansell, Smith, and Mullins back to Babb's mobile home.  Stansell made Wallace aware
of her dislike for Molaris.

	Stansell and Smith testified that they each initially gave a false description of the man who
attacked Molaris, calling him "Billy," and that they gave the false statements to protect Wallace.  

	Several witnesses testified for the defense and said that Wallace and Mike Allen were in
Dallas on July 20, 2000, the date of the incident, immediately after Wallace had purchased a new
truck.  This alibi testimony was refuted by the salesman who sold the truck to Wallace.  He said he
sold the truck to Wallace in Paris on July 31, not until well after July 20.    The salesman produced
a copy of the sales contract as confirmation of the transaction. 

	In his first issue, Wallace challenges the sufficiency of the evidence to support his conviction,
contending that "the State failed to show that the complainant suffered a serious bodily injury."  
Wallace does not specify whether the challenge is to the legal sufficiency, the factual sufficiency,
or both.  We will consider both challenges in the interest of justice.  Aldrich v. State, 928 S.W.2d
558, 559 n.1 (Tex. Crim. App. 1996); Chimney v. State, 6 S.W.3d 681, 688 (Tex. App.-Waco 1999,
no pet.).   

	Tex. Pen. Code Ann. § 22.02(a) (Vernon 1994) describes two kinds of aggravated assault: 
1) assault, as defined in Section 22.01, which causes serious bodily injury to another, including the
person's spouse; or 2) assault, as defined in Section 22.01, in which the defendant uses or exhibits
a deadly weapon during the commission of the assault.  Wallace was charged in the indictment with
intentionally, knowingly, or recklessly causing bodily injury to Molaris by hitting him and using and
exhibiting a deadly weapon, to-wit, a baseball bat, that in the manner of its use and intended use was
capable of causing death and serious bodily injury.  The jury was instructed:

	Our law provides that a person commits an assault if the person intentionally or
knowingly or recklessly causes bodily injury to another.

	

	A person commits the offense of aggravated assault if the person commits assault,
as hereinbefore defined, and the person uses or exhibits a deadly weapon during the
commission of the assault.

	"Deadly weapon" means anything manifestly designed, made, or adapted for the
purpose of inflicting death or serious bodily injury; or anything that in the manner of
its use or intended use is capable of causing death or serious bodily injury.

	

	"Bodily injury" means physical pain, illness, or any impairment of physical condition.


	The statutes do not require the State to prove both that Wallace caused serious bodily injury
and that he used a deadly weapon.  A person may be guilty of aggravated assault if he commits an
assault with a deadly weapon and causes bodily injury or if he commits an assault and causes serious
bodily injury.  Madden v. State, 911 S.W.2d 236, 244 (Tex. App.-Waco 1995, pet. ref'd).  Wallace
was charged with the type of aggravated assault committed with the use of a deadly weapon, where
the jury would have to find assault, bodily injury, and use of a deadly weapon, but not serious bodily
injury.  Since Wallace challenges the sufficiency of the evidence on a matter that the State was not
required to prove, we reject his challenge.

	In issues two and three, Wallace challenges the trial court's order of restitution to the victim
in the amount of $6,227.65 for medical expenses and $3,000.00 for lost wages, totalling $9,227.65. 
See generally Tex. Code Crim. Proc. Ann. art. 42.037(b)(2)(A-C) (Vernon Supp. 2002).  Wallace
contends that the trial court relied solely on hearsay evidence in issuing such an order, thereby
denying him due process of law under both the United States and Texas Constitutions.  

	In its brief, the State has conceded error on this point, agreeing that the hearsay objection
raised by Wallace at trial was well-taken.  Thus, the only issue we consider is what disposition this
error requires.  The parties have called to our attention two cases procedurally similar to this case,
in which the disposition was handled differently.  In Cartwright v. State, 605 S.W.2d 287 (Tex.
Crim. App. [Panel Op.] 1980), the trial court assessed punishment on an aggravated assault
conviction at ten years, probated, and set restitution to the victim in the amount of $36,000.00.  The
only evidence regarding restitution in the record appeared in the presentence investigation (PSI)
report, which the Court held was not a sufficient factual basis for the trial court to conclude that
$36,000.00 would make the victim whole.  Based on this finding, the Texas Court of Criminal
Appeals abated the appeal and remanded the case to the trial court for a hearing to determine the just
amount of restitution to be ordered.  Id. at 289.  On the other hand, in Botello v. State, 693 S.W.2d
528 (Tex. App.-Corpus Christi 1985, pet. ref'd), the trial court ordered the defendant to pay
$2,101.20 in restitution.  On appeal, the State conceded that the only evidence as to the proper
amount of restitution was contained in the PSI report, admittedly hearsay and insufficient to support
the trial court's determination.  The State requested relief similar to that granted by the Texas Court
of Criminal Appeals in Cartwright, i.e., abatement and remand to the trial court to hold another
hearing.   The defendant requested that the portion of the judgment containing the order of restitution
be deleted from the judgment.  The Corpus Christi court, after considering both arguments, decided
to simply delete the restitution from the judgment, which they affirmed.  We conclude that the better
procedure to follow is to delete the restitution order from the judgment.  See Botello v. State, 693
S.W.2d 528; see also Tex. Code Crim. Proc. Ann. art. 42.037(c)(2),(3) (Vernon Supp. 2002).

	In his fourth issue on appeal, Wallace argues that the lineup procedure used by the State was
so suggestive it deprived him of his due process rights under the United States and Texas
Constitutions.  We find that this issue has not been properly preserved for appeal, and even if it had
been preserved, Wallace has not shown that the in-court identification was so tainted by an
impermissibly suggestive pretrial identification that it should have been excluded.

	Sergeant Steven Holmes of the Paris police department was the investigating officer.  He
began his investigation by contacting the victim, who at first was unable to identify his attacker, but
who did identify two females who were with the attacker, one of whom was Stansell.  Holmes
testified without objection that in his interview with Stansell, she said Smith was also with her and
that Wallace was with them when they visited Bert Babb's mobile home on July 20.  Holmes further
testified, without objection, that Stansell told him Wallace attacked Molaris with a baseball bat.
Holmes acknowledged that both Stansell and Smith at first gave him different stories in their
statements, i.e., that someone named "Billy" was the perpetrator. He testified again, without
objection, that it sounded to him like Stansell and Smith had "gotten together" before giving the
"Billy" statement. Holmes testified he obtained a photographic lineup from the Lamar County
sheriff's office, which he showed to the victim, to Stansell, Smith, and Melissa Layton and Meagan
Streety, the two neighbors, and that all of these witnesses identified Wallace as being the man they
saw at Babb's mobile home.   

	Holmes was later re-called to explain the procedure he used to prepare the photographic array
that was displayed to the witnesses.  Defense counsel questioned Holmes on voir dire regarding this
procedure.  The array was prepared specifically to include Wallace.  Holmes later reiterated that he
showed the array to the witnesses and they all identified Wallace.  Defense counsel objected to the
introduction of the photographic array, and the court overruled the objection.  

	Layton testified, without objection, that she had identified the person in one of the
photographs as the person she saw at the mobile home on July 20.  Also without objection, she
identified Wallace as the man she saw enter the mobile home on that date and come out carrying a
baseball bat. 

	Streety testified, without objection, that she saw Stansell and "that guy" come out of the
mobile home, and that the man was carrying a baseball bat.  She viewed the photographic array she
was shown by the police and identified the photograph in the top center as the man she saw.  She
further identified Wallace as the man she saw leaving the mobile home on July 20.       

	Stansell, who did not testify to viewing the photographic array,  testified that she,  Smith, and
Mullins spent July 20 drinking and then, in the company of Wallace, went over to Babb's mobile
home, where Wallace attacked Molaris with the bat.  She also identified Wallace in court.   

	Generally, the defendant's attack is against an in-court identification as being tainted by an
impermissibly suggestive pretrial identification procedure.  This is done by a motion to suppress the
identification, with the hearing held outside the jury's presence.   Barley v. State, 906 S.W.2d 27, 32
(Tex. &nbsp;Crim. &nbsp;App. &nbsp;1995); &nbsp;Martinez &nbsp;v. &nbsp;State, &nbsp;437 &nbsp;S.W.2d &nbsp;842, &nbsp;848 &nbsp;(Tex. &nbsp;Crim. &nbsp;App. &nbsp;1969);
7 Michael J. McCormick, et al., Texas Practice:  Criminal Forms And Trial Manual §
52.06 (10th ed. 1995).  At the very least, there should have been a trial objection to the in-court
identification made by the witnesses who viewed the photographic array.  The failure to complain
about or object to in-court identifications constitutes a procedural default and waiver of any
complaint on appeal.  In re G.A.T,, 16 S.W.3d 818, 827 (Tex. App.-Houston [14th Dist.] 2000, pet.
denied).  In this case, defense counsel objected to the introduction of the photographic array, but did
not move to suppress or in any fashion object to the in-court identifications made by witnesses who
had viewed the array.  An objection to the  array does not preserve for appellate review any
complaint regarding the in-court identification.  Even if the issue raised had been properly preserved
for appeal, the record shows no valid basis on which the trial court should have suppressed the in-court identifications made by witnesses who had viewed the photographic array.  

	In determining the admissibility of an in-court identification, we use a two-pronged inquiry. 
First, we determine whether the out-of-court identification procedure was impermissibly suggestive,
and second, we determine whether that suggestive procedure gave rise to a substantial likelihood of
irreparable misidentification.  An analysis of these two steps requires us to examine the totality of
the circumstances surrounding the particular case.   In re G.A.T.,  16 S.W.3d at 827.  Under the first
step of the analysis, we note that a pretrial procedure may be suggestive, but yet not impermissibly
suggestive.  Barley v. State, 906 S.W.2d at 33; In re G.A.T., 16 S.W.3d at 827.  We have reviewed
the record, as well as the photographic array, and we find nothing impermissibly suggestive about
either the array itself or the officer's use of the array in the questioning of the witnesses.  

	Holmes asked the Lamar County sheriff's office to prepare a six-person photographic array,
specifically to include Wallace and five similar individuals.  In his brief, Wallace contends that error
was committed because the photographic array did not contain anyone matching the original
description given by the witnesses.  We find no validity to this argument.  During the discussion
between counsel and the trial court concerning the admissibility of the photographic array, the
prosecutor asserted without challenge that the array was prepared and shown to the witnesses after 
Wallace had been named as a suspect.  Given the state of the investigation at the time, there was no
obligation to prepare a lineup fitting a description of someone not a suspect.  Even assuming that 
Holmes used procedures that could be considered suggestive, we cannot find from the record that
such a procedure would have made the witnesses' in-court identification less than reliable. 

	As the second step of the analysis, the Court of Criminal Appeals has mandated that five
nonexclusive factors should be weighed against the corrupting effect of any suggestive identification
procedure in assessing reliability under the totality of the circumstances:

	1) the opportunity of the witness to view the accused at the time of the crime;

	2) the witness' degree of attention;

	3) the accuracy of the witness' prior description of the accused; 

	4) the level of certainty demonstrated by the witness at the confrontation; and 

	5) the length of time between the crime and the confrontation.

Loserth v. State, 963 S.W.2d 770, 772 (Tex. Crim. App. 1998).  We are required to review the trial
court's findings on these factors, regarded as matters of historical fact, deferentially in the light most
favorable to the trial court's ruling.  These factors should then be weighed de novo against the
corrupting effect of the suggestive pretrial identification procedure.  When the trial court has not
made express findings of historical fact, as is the case here, the facts are viewed in the light most
favorable to the trial court's ruling. 

	The photographic array was shown to three witnesses:  the victim, Molaris, and the two
women who lived in a neighboring mobile home, Streety and Layton.  Molaris was quite positive
in his identification of Wallace; he had ample opportunity to view his attacker during the attack, and
his attention was certainly fixed on the person swinging the baseball bat.  There is no evidence that
Molaris was intoxicated or visually impaired at the time of the attack.  Streety and Layton were
likewise positive in their identifications.  Their attention was focused on the arrival of the car with
"Jennifer" stenciled on the window; they saw Wallace and two women enter Babb's mobile home,
heard screams from inside, and saw Wallace leave holding a baseball bat.  While there were some
differences between the early descriptions given by these two witnesses and the physical appearance
of Wallace, given the totality of the circumstances, we find no evidence that their in-court
identifications of Wallace were tainted by an impermissibly suggestive pretrial identification.  

	We also note that Stansell positively identified Wallace in court as the individual who went
with her to Babb's mobile home and who struck Molaris with the baseball bat. The record does not
indicate that she ever viewed the photographic array, so her identification cannot be questioned on
that basis.

	Issues five and six challenge the trial court's refusal to give a jury instruction on self-defense. 
The trial court refused such an instruction for two stated reasons:  the evidence did not support the
charge and self-defense is inconsistent with Wallace's claimed alibi defense. 

	A person is justified in using force against another when and to the degree he reasonably
believes the force is immediately necessary to protect himself against the other's use or attempted
use of unlawful force.  Clifton v. State, 21 S.W.3d 906, 907 (Tex. App.-Fort Worth 2000,  pet. ref'd). 
If the evidence raises the issue of self-defense, the accused is entitled to have an instruction on the
defense submitted to the jury.  Riddle v. State, 888 S.W.2d 1, 6 (Tex. Crim. App. 1994); Evans v.
State, 876 S.W.2d 459, 464 (Tex. App.-Texarkana 1994, no pet.).  The defendant has the burden to
come forward with such evidence, Clifton v. State, 21 S.W.3d at 907, but the defendant is not
required to testify in order to be entitled to raise the defense.  Self-defense may be raised by the
testimony of other witnesses describing the circumstances of the offense.  Boget v. State, 40 S.W.3d
624, 626 (Tex. App.-San Antonio 2001, pet. granted); Evans v. State, 876 S.W.2d at 464.  If the
defendant meets this burden of producing evidence, the right to the instruction inures to him
regardless of whether the evidence is weak or strong, unimpeached or contradicted, and regardless
of what the trial court may or may not think of the credibility of the testimony.  However, if the
evidence viewed in the light most favorable to the defendant does not establish self-defense, the
defendant is not entitled to an instruction on the issue.  Clifton v. State, 21 S.W.3d at 907.  Tex. Pen.
Code Ann. § 9.31 (Vernon Supp. 2002) controls in the issue of self-defense.  Evans v. State, 876
S.W.2d at 464.

	At trial Wallace relied on a defense of alibi. (2)  In Young v. State, 991 S.W.2d 835 (Tex. Crim.
App. 1999), the appellant contended that his defense counsel was ineffective for failing to request
an instruction on the defense of necessity. (3)  The Court of Criminal Appeals held that the defense
counsel was not ineffective for such failure because, in order to raise the defense of necessity, the
defendant must admit violating the statute under which he was charged, with necessity being offered
as a justification that weighs against imposing punishment for the act that violated the statute.  To
raise necessity, the accused must admit that he committed the offense and then offer necessity as a
justification.  Pennington v. State, 54 S.W.3d 852 (Tex. App.-Fort Worth 2001, no pet.); see also
Aldrich v. State, 53 S.W.3d 460 (Tex. App.-Dallas 2001, pet. granted); McGarity v. State, 5 S.W.3d
223 (Tex. App.-San Antonio 1999, no pet.).  In Anderson v. State, 11 S.W.3d 369 (Tex.
App.-Houston [1st Dist.] 2000, pet. ref'd), the court applied the rationale of Young v. State, 991
S.W.2d 835, to self-defense:

	Self-defense is justification for one's actions, which necessarily requires admission
that the conduct occurred.  Self-defense is inconsistent with a denial of the conduct.
To raise the issue of self-defense, appellant must admit he committed the offense and
then offer self-defense as a justification. 

	

Anderson v. State, 11 S.W.3d at 372 (citations omitted)(citing Young v. State,  991 S.W.2d at 839). 
The court held that the trial court did not err in refusing the requested self-defense instruction.  	Self-defense is included in Chapter 9 of the Penal Code, entitled "Justification Excluding
Criminal Responsibility," along with necessity, public duty, and protection of life and health.   Tex.
Pen. Code Ann. § 9.01, et seq. (Vernon 1994 &amp; Supp. 2002).  Consistent with the statutory
language and the cases cited, we hold that because Wallace's defense was alibi, and because he did
not admit the act but contended he was not even present when it was committed, he was not entitled
to a self-defense instruction. (4)  	

	Issues seven and eight concern Wallace's motion for new trial.  He contends that 1) the trial
court erred in failing to hold a hearing on his motion, and 2) the trial court abused its discretion in
overruling the motion.  The motion for new trial alleges that 1)  the verdict is contrary to the law and
the evidence, and 2) two witnesses have come forward after the trial who state that the assailant in
this case was a man named Billy Ray Williams, not Wallace. 

	The granting or denying of a motion for new trial lies within the discretion of the trial court. 
We may not substitute our judgment for that of the trial court, but rather we may only decide whether
the trial court's decision was arbitrary or unreasonable.  Lewis v. State, 911 S.W.2d 1, 7 (Tex. Crim.
App. 1995).  To obtain a new trial based on newly discovered evidence, a defendant must show that: 
1) the newly discovered evidence was unknown to him at the time of trial; 2) his failure to discover
the evidence was not due to his lack of due diligence; 3) the evidence is probably true and would
bring about a different result in another trial; and 4) the evidence is admissible and not merely
cumulative, corroborative, collateral, or impeaching.  Manley v. State, 28 S.W.3d 170, 173 (Tex.
App.-Texarkana 2000, pet. ref'd); Dotson v. State, 28 S.W.3d 53, 55 (Tex. App.-Texarkana 2000,
pet. ref'd).  

	Regarding these requirements, Wallace's motion implies, but certainly does not specifically
state, that the evidence was unknown to him at the time of trial and that the failure to discover the
evidence was not due to a lack of diligence.  The motion states that the witnesses came forward after
an article  regarding the case appeared in the Paris newspaper.  If we assume (and the motion does
not state) that the witnesses were unknown to Wallace at the time of trial, and if we assume (but the
motion does not state) that the newspaper article appeared at a time too late for Wallace to call the
two affiants as witnesses, Wallace's motion would meet the first two criteria for newly discovered
evidence.  However, the affidavit of Donna S. Marshall does not state that Williams told her that he,
not Wallace, was the assailant, and the affidavit does not give any details of the criminal incident in
question.  Based on Marshall's affidavit, even if it is true, we cannot conclude that a different
outcome in the trial would result based on her testimony.  Instead, Marshall's evidence is merely
impeaching evidence, which would at best only serve to cast suspicion on someone other than
Wallace as the guilty party.  Compare Manley v. State, 28 S.W.3d at 173-74.  Teresa Ashford's
affidavit merely states that Williams had beaten up, and in one case set on fire, several people in the
past.  This affidavit, like that of Marshall's, contains no evidence that Williams confessed to the
crime and contains no statement that the affiant has any personal knowledge about the crime or about
any connection Williams may have had to it.

	The two affidavits supporting Wallace's motion are as follows:

	1.  Donna Marshall's affidavit:

		I talked to Billy Ray Williams around April 1, 2001 after finding out Robert
Wallace had been convicted on assault charges.  It was rumored Billy had committed
this crime.  We are real good friends, so I wanted to ask him about it.  He came over
[sic] my house &amp; after about an hour of conversation, I brought up the subject.  In the
begining [sic] he said he didn't do it &amp; then began talking about whether he would
get time for something like that or could it be probated.  I kept talking &amp; then he kept
saying why did Amy &amp; Jenny make statements.  We argued back &amp; forth because as
far as I knew Jenny was never there.  No one had ever mentioned Jenny &amp; he just
kept saying they would be taken care of.  We continued conversation [sic] he was
asking why would Sabra say Bobby did it.  He also mentioned moving to Annona
right after this incident &amp; came back right after this conviction.  In July he had
moved back from living in Ft. Worth with a woman named Teresa.


		Billy has a history of violence against other [sic].  A few years ago he set
Janie Clemenske on fire for sleeping in his bed.  I have also witnessed attacks on
Brian Shughart &amp; a man named Guye.  He has beaten an ex named Teresa &amp; Jessica
Brooks.  He had tried to cut his own throat one night when we were drinking.  Three
of us held him down and he was bleeding.


		On Sunday, April 22nd, 2001 he came back over &amp; was saying he called the
lawyer in Ft. Worth who did the assault case on Teresa &amp; asked if he confessed to
this would he see time.  The lawyer said he would go to jail &amp; advised against it.  He
also reinforced that Amy, Sabra &amp; Jenny he could take care of.


(Emphasis added.)


	2.  Teresa Ashford's affidavit:


		My name is Teresa Ashford.  I formly (sic) lived with Billy Ray Williams.
Around a 1 yr [sic] ago I seen him beat up a man named Stanley Millery in our home
which resulted in Stanley's jaw being broke 3 times in 3 different places.  And he was
in the hospital for 2 days.


		He is proned [sic] to violence and has physically beat me numerous of times
in the past.  


		He has also beat Brian Vaughn on his front porch with a baseball bat.  He had
told me about a time when he had set a man on fire with lighter fluid for sleeping in
his bed.


		On one occasion we were awoke by some friends that were being followed,
Billy Ray went outside and the guy got out of the pickup with a baseball - bat he
swung at Billy Ray and Billy Ray took the bat away from him and busted his
windshield.

	

	The attempt to place the blame on Williams began immediately after the assault when 
Stansell and Smith gave statements to the police that they were present and that a man named "Billy"
was the assailant.  Later, however, these two witnesses gave second statements to the police saying
that Wallace was the assailant.  Stansell and Smith said they gave false statements, at first blaming
Billy for the assault because they were trying to protect Wallace.  They later decided it was not right
to do that, and they also realized that the police would find out about it and they would get in trouble,
so they changed their statements and told police, and testified positively at trial, that Wallace was
the assailant.

	The affidavits submitted by Wallace do not meet the requirements for the post-trial admission
of newly discovered evidence.  Motions for new trial based on newly discovered evidence are not
favored by the courts and are viewed with great caution.  Drew v. State, 743 S.W.2d 207, 225 (Tex.
Crim. App. 1987); Manley v. State, 28 S.W.3d at 173; Dotson v. State, 28 S.W.3d at 55.  The
statements and information in the affidavits are not sufficiently definite to indicate that a different
result would have occurred if the affiants' statements were admitted into evidence at a new trial; the
evidence referred to in the affidavits is merely impeaching and is cumulative of evidence admitted
at trial attempting to place the blame on Williams; and the plot to blame Williams was fully explored
and exposed at trial.  It may be inferred from all the evidence that, even if Williams made the
statements described in Marshall's affidavit, he had heard about the plot to blame him for the assault
and was simply speculating about what might happen if he were charged with the assault.  Marshall's
affidavit states that it was rumored that Williams committed the assault and that he at first denied
it.  He never retracted his denial, but only speculated about what might happen to him if he was
charged with the crime.  Moreover, the evidence that Wallace was the attacker is overwhelming,
seven witnesses having positively identified him as the assailant.  No witness testified that Williams
committed the assault.  In view of these circumstances, the trial court did not abuse its discretion in
refusing to hold a hearing on Wallace's motion or in failing to grant it.

	In issues nine and ten, Wallace contends he received ineffective assistance of counsel at trial,
in violation of his rights under the United States and Texas Constitutions.  

	We apply the standard of review for such claims set out by the United States Supreme Court
in Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984), and by the Texas
Court of Criminal Appeals in Hernandez v. State, 726 S.W.2d 53 (Tex. Crim. App. 1986).  The
standard of review has two prongs.  Under the first prong, the accused must show that counsel's
performance was deficient.   To show deficient performance, the defendant must show that counsel's
representation fell below an objective standard of reasonableness.  Under the second prong, an
appellant must show that the deficient performance prejudiced the defense.  To show prejudice, the
defendant must show a reasonable probability that, but for counsel's unprofessional errors, the result
of the proceeding would have been different.  Our review of defense counsel's representation is
highly deferential.  We indulge a strong presumption that counsel's actions fell within a wide range
of reasonably professional assistance.  Wallace must overcome the presumption that under the
circumstances, counsel's actions might be considered sound trial strategy.  Chambers v. State, 903
S.W.2d 21, 32-33 (Tex. Crim. App. 1995).

	Rarely will a reviewing court be afforded, on a direct appeal, the opportunity to make a
determination regarding ineffective assistance of counsel.  Any allegation of ineffective assistance
must be firmly grounded in the record, and the record on direct appeal generally does not contain an
adequate &nbsp;inquiry &nbsp;into &nbsp;possible &nbsp;tactical &nbsp;decisions &nbsp;made &nbsp;by &nbsp;trial &nbsp;counsel.  &nbsp;See Thompson v. State,
9 S.W.3d 808, 813-14 nn.5-6 (Tex. Crim. App. 1999).  Supplementation of the record for
establishing ineffective assistance may be accomplished through a motion for new trial and a hearing
thereon.  Reyes v. State, 849 S.W.2d 812, 815 (Tex. Crim. App. 1993).  Although a motion for new
trial was filed in this case, the motion made no allegation of ineffective assistance of counsel. 

	Wallace particularly criticizes trial counsel for permitting the two investigating police
officers, Detective Steven Holmes and Patrolman David Wolf, to testify to the contents of the
statements given to them by Stansell, Smith, Babb, Merritt, Streety, and Layton.  He argues that
much of this testimony is inadmissible hearsay and speculation.  While we have no record showing
what strategy counsel was pursuing, we find a reasonable strategy, as revealed in counsel's closing
argument, for permitting this testimony to be admitted without objection.  In his jury summation,
defense counsel tried to convince the jurors that the State's witnesses, particularly Stansell and 
Smith, were not to be believed because they had changed their stories from the original ones they
gave to the police, particularly the description of the attacker as being a tall, blond male, dissimilar
to Wallace.  The only way to demonstrate the variances and to attempt to convince the jury that these
witnesses should not be believed, was to allow all statements they had made to be admitted into
evidence, even though it was hearsay testimony of the police officers.  This was the only way the
contents of these statements could be brought to the jury's attention and possibly demonstrate the
unreliability of the witnesses.  Had the contents of the statements been objected to and not allowed
into evidence, the jury would never have known of the substantial variances in the witnesses' stories
over time.  In addition, Wallace does not demonstrate that there is a reasonable probability that, but
for counsel permitting this evidence before the jury, the result would have been different.

  	Permitting otherwise objectionable testimony to come into evidence without objection is not
per se ineffective assistance.  Where a valid trial strategy, or a feasible trial strategy in the absence
of record evidence, is the basis for such inaction by defense counsel, an appellant has not
demonstrated ineffective assistance of counsel.  See Burruss v. State, 20 S.W.3d 179, 188 (Tex.
App.-Texarkana 2000, pet. ref'd); Young v. State, 10 S.W.3d 705, 712-13 (Tex. App.-Texarkana
2000, pet. ref'd). 

	For the reasons stated, we affirm the judgment.


							William J. Cornelius

							Chief Justice









PARTIAL DISSENTING OPINION


	Robert Wallace raised an issue contending that he was entitled to an evidentiary hearing on
his Motion for New Trial.  The majority opinion does not address this matter, but rather addresses
whether he is entitled to a new trial. 

	Counsel duly requested a hearing on the Motion for New Trial.  The record indicates that no
evidentiary hearing was held and the Motion for New Trial was overruled.

	The defendant need only assert reasonable grounds for relief that are not determinable from
the record in order to be entitled to a hearing.  The purpose of the hearing is to fully develop the
issues raised in the motion.  Reyes v. State, 849 S.W.2d 812, 816 (Tex. Crim. App. 1993).

	Prior to the trial, two of the trial witnesses had stated that "Billy" had committed the assault
in question, but they later changed their stories to say that Wallace had committed the assault.  The
affidavit of Donna Marshall states that Billy Ray Williams had told her that he had called an attorney
in Fort Worth to determine whether he would "get jail time" if he confessed, and he stated that the
lawyer had stated he would go to jail and advised against confessing.  Although this is not a direct
admission by Williams that he had committed the assault in question, it raises a strong inference.

	The affidavit clearly shows that this statement was made to Marshall after Wallace had been
convicted on the assault charges.  She further stated Williams had told her he had moved to another
town right after this incident had occurred and had come back right after the conviction of Wallace.

	This affidavit was sufficient to raise facts which would entitle Wallace to an evidentiary
hearing on his Motion for New Trial. 

	I would abate this case and remand it to the trial court for an evidentiary hearing on the
Motion for New Trial.


							Ben Z. Grant

							Justice


Date Submitted:	December 5, 2001

Date Decided:		March  20, 2002


Publish

	
1. The "Jennifer" named on the vehicle was not Jennifer Mullins.
2. "Alibi" is the presentation of evidence and argument that a defendant was not present at the
scene of the crime to commit it.  Alibi is not an affirmative defense for which a defendant has the
burden of proof, but is simply the negation of the state's allegation that he did on a certain date and
in a certain location, commit a certain crime.  Haliburton v. State, 23 S.W.3d 192, 194 (Tex.
App.-Waco 2000, pet. ref'd).  Because alibi is not a statutory defense, affirmative defense, or
justification found in Chapters 8 and 9 of the Penal Code, the defense of alibi does not warrant a
separate jury instruction.  Giesberg v. State, 984 S.W.2d 245, 248-50 (Tex. Crim. App. 1998).  The
statutory defense distinction is reserved for theories involving a defendant's admission that he or she
committed the crime, but with explanation to justify a defendant's action or absolve a defendant of
culpability. Id. at 248; Tex. Pen. Code Ann. § 9.02 (Vernon 1994).  	
3. Tex. Pen. Code Ann. § 9.22 (Vernon 1994). 
4. But see Booth v. State, 679 S.W.2d 498, 501 (Tex. Crim. App. 1984), which held that
inconsistent or even contradictory defenses are matters for the jury to decide. 


